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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                                      Chapter 11

THE GREAT ATLANTIC & PACIFIC TEA                            Case No. 15-23007-rdd
COMPANY, INC., et al.,1
                                                            Jointly Administered
                  Debtors.
THE GREAT ATLANTIC & PACIFIC TEA                            Adv. Pro. No. 18-8245-rdd
COMPANY, INC., et al.,
                  Plaintiff,

         - against -

PEPSICO, INC.; BOTTLING GROUP, LLC
(d/b/a Pepsi Beverages Company and f/d/b/a
The Pepsi Bottling Group); FRITO-LAY
NORTH AMERICA, INC.; PEPSI-COLA
METROPOLITAN BOTTLING COMPANY,
INC.; PEPSI-COLA HASBROUCK
HEIGHTS; PEPSI-COLA BOTTLING
COMPANY; QUAKER SALES AND
DISTRIBUTION, INC.; MULLER QUAKER
DAIRY, LLC; STACY’S PITA CHIP
COMPANY, INC.; PEPSI BOTTLING
GROUP, NJ; and PEPSI USA,
                     Defendants.

                       STIPULATION AND ORDER FURTHER EXTENDING
                        TIME TO RESPOND TO AMENDED COMPLAINT

         WHEREAS, Defendants’ deadline to respond to the First Amended Complaint, filed

April 23, 2018, is July 25, 2018, pursuant to the Stipulation and Order, entered June 19, 2018;

and

         WHEREAS, Plaintiff has represented that it intends to file a Second Amended

Complaint, pursuant to Rule 15(a).
1
  The Debtors are: 2008 Broadway, Inc.; The Great Atlantic & Pacific Tea Company, Inc.; A&P Live Better, LLC;
A&P Real Property, LLC; APW Supermarket Corporation; APW Supermarkets, Inc.; Borman’s, Inc.; Delaware
County Dairies, Inc.; Food Basics, Inc.; Kwik Save Inc.; McLean Avenue Plaza Corp.; Montvale Holdings, Inc.;
Montvale-Para Holdings, Inc.; Onpoint, Inc.; Pathmark Stores, Inc.; Plainbridge LLC; Shopwell, Inc.; Super Fresh
Food Markets, Inc.; The Old Wine Emporium of Westport, Inc.; Tradewell Foods of Conn., Inc.; and Waldbaum,
Inc.
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       NOW THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by and between

the undersigned counsel for the parties to this adversary proceeding, that Defendants’ time to

answer, move, or otherwise respond to the First Amended Complaint is hereby extended through

August 8, 2018.  

Dated: July 25, 2018

/s/ David N. Crapo                                /s/ Jeffrey Chubak
David N. Crapo                                    Jeffrey Chubak
Philip J. Duffy                                   STORCH AMINI PC
GIBBONS P.C.                                      140 East 45th Street, 25th Floor
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                                                  Attorneys for Defendants

SO ORDERED this 27th day of July, 2018


/s/Robert D. Drain
Honorable Robert D. Drain
United States Bankruptcy Judge




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